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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               FT. LAUDERDALE DIVISION

                               CASE NO. 15-cv-61523-WJZ

       INDIRA S. DUPOTEY-RUBI,

                      Plaintiff,
       v.

       PENN CREDIT CORPORATION,

                      Defendant.
                                                      /

                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

            Plaintiff Indira S. Dupotey-Rubi and Defendant Penn Credit Corporation, by and

     through their undersigned counsel and pursuant to Fed. R. Civ. P. 41, hereby dismiss this

     action, with prejudice, with each party to bear their respective attorneys' fees and costs.

     The parties request the Court retain jurisdiction to enforce their settlement agreement.

     Dated: June 30, 2016


     Respectfully submitted,

      /s/ Ernesto M. Rubi                            /s/ Charles J. McHale
      Ernesto M. Rubi                                Charles J. McHale
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